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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA


Prime Therapeutics LLC,                             File No. 18-cv-02715 (ECT/KMM)

              Plaintiff,

v.                                                      ORDER OF DISMISSAL
                                                         WITH PREJUDICE
Ashley D. Beatty and Maxor National
Pharmacy Services, LLC,

           Defendants.
________________________________________________________________________

       Pursuant to the Stipulation of Dismissal with Prejudice [ECF No. 61], entered into

by Plaintiff and Defendants,

       IT IS HEREBY ORDERED that the above-captioned action is hereby

DISMISSED with prejudice in its entirety with each party to bear its own costs and attorney

fees in connection with such claims.



Dated: February 27, 2019                 s/ Eric C. Tostrud
                                         Eric C. Tostrud
                                         United States District Court
